Case 2:05-cV-02063-BBD-tmp Document 30 Filed 06/30/05 Page 1 of 5 Page|D 35

UNITED sTATEs DisrRiCT COURT F'LED BV - - D-C-

FOR THE WESTERN DISTRICT OF TENNE_S_SEE 95 JUH 30 PH 3: 56

TH{)`A":AS M GOULD

 

R. sADLER BAILEY, individually and on Ci£,i,i§`§"§ V"STR`*"T,QQURT
behalf ot` all others similarly situated, ijif Actiont’NH_}§ T'(j§l§‘§i%?§qjj¥npnib

Plaimifr, 05 ~ 2 O 65

[PROPOSED] ORDER Re:
Plaintit`f"s Motion to Withdraw its

HoNEYWELL INTERNATIONAL lNC., M°ti°n to Va°ii‘te Order .Der.‘yi“g MO“°“
for Remand Wrthout Pre_]udice

V.

Defendant.

 

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Upon consideration of Plaintist l\/lotion to Withdraw its Motion to Vacate Order
Denying Motion for Relnand Without Prejudice, or Alternatively for Hearing on the lssue
of Remand, the issuance by the J udicial Panel on Multidistrict Litigation of a conditional
transfer order transferring this case to the Northern District of California on June 14,
2005, review of the additional evidence presented therein, and the circumstances ot` this
case, the Court finds Plaintift`s l\/Iotion is well taken. It is therefore,

ORDERED that the previous Motion to Withdraw its Motion to Vacate Order
Denying Motion t`or Remand without Prejudice, or Alternatively for Hearing on the issue

of Relnand is granted subject to further order of the l\/IDL transferee court

  

rnice B. Dona]d, District Judge

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APPROVED:

 
     

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CERTIFICATE OF SERVICE

l hereby certify that a true and exact copy of the foregoing Motion to Withdraw
its Motion to Vacate Order Denying Motion for Remand Without Prejudice, or

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
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Honorable Bernice Donald
US DISTRICT COURT

